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                     EXHIBIT E
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From: Message From Kelly Lafnitzegger
Sent: Friday, October 09, 2015 7:33 AM
To: Message From Kelly Lafnitzegger
Subject: ADR Procedure Update - Action Required




 Dear Colleague,

 You received an email on August 27, 2015 which notified you about upcoming modifications to GE
 Power & Water’s Alternative Dispute Resolution (ADR) procedures. ADR provides a framework
 for employees and the Company to resolve employment- related disputes in a fair and efficient way.
 The email notification of August 27 contained a link to GE’s Document & Policy Manager (DPM)
 system, where you could view the Notice and related materials, and acknowledge receipt. You have
 received two follow-up reminders to use the DPM link to review the material and acknowledge
 receipt.

 The modifications will go into effect on November 1, 2015, whether or not you have formally
 acknowledged. You are receiving this e-mail because you have not yet completed the
 acknowledgment in the system and we wanted to give you a final opportunity to review the
 materials before the modifications go into effect. Please click the link below to the Document &
 Policy Manager Home Page to view the notice and acknowledge receipt.

 Link to GE Document & Policy Manager Home Page

 If you encounter any issues using the Document & Policy Manager, please reach the HR Systems
 Help Desk for assistance

 Link to GE Document & Policy Manager User Guide

 Thank you for your action on this.

 Kelly
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